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 7
                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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12      NEMAN BROTHERS & ASSOC.,                   Case No.: 2:20-cv-11181-CAS-JPR
13      INC., a California Corporation;
                                                   PLAINTIFF’S SUPPLETMENTAL
14                Plaintiff/Counter-Defendant,     BRIEF
15
                  vs.
16
17      INTERFOCUS, INC., a California
        Corporation, et al.,
18                 Defendant/Counter-Claimant
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                          PLAINTIFF’S SUPPLETMENTAL BRIEF
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              As to the authors, the application form does not instruct the applicant that all of the

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       authors or co-authors should be identified. Had Neman known it was required, there
       would have been no reason why it would not disclose it, especially because Neman
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       would always want its registrations to be valid, as opposed to be subject to any
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       unnecessary disputes about the validity. As discussed in the prior brief, the Office’s
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       Compendium in Section 1802.6(D) in both versions of 2014 and 2021 allows the
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       claimant to freely supplement as to an error or omission involving the author(s) of the
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       work. Compendium §1802.6(D) (3d ed. 2014 and 2021) (citing 37 C.F.R. §
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       201.5(b)(2)(ii)(A)). Therefore, the alleged failure to give the information about all of the
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       authors is not the issue of invalidation, but merely an immaterial issue of
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       supplementation. The Office’s Compendium3 states a supplementary registration can be
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       used to correct an error or omission involving the author(s) of the work. Compendium
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       §503.2 (3d ed. 2021) (citing 37 C.F.R. § 202.6(d)(3)(i)). If two or more authors created
13
       the work and some of the authors were not named, the names of the missing authors may
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       be added to the registration record with a supplementary registration. Compendium
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       §503.2 (3d ed. 2021).
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              As to work for prior work a new design is modified from (not inspired from), the
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       application form shows no inquiry about the prior work if the new designs is a derivative
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       to be disclosed. As to NB170268, the prior works were used as inspirations because the
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       design was literally a new design, as opposed to a derivative.
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              As to the inquiry about the work for hire, Neman properly answered as the
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       application asked whether it was “work for hire”, by answering “yes”, especially given
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       the designs were either internally made or modified by Neman’s designers.
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       The application form was not clear as to each and every author should be disclosed, all of
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       the prior arts should be disclosed, or there should be separate statement as to work for
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       hire, if applicable. As discussed above, there is no dispute about the substantive proof
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       showing Neman unlawfully used, or infringed upon, a third party’s designs or elements.
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       The above issues are at most a technical matter of disclosure, which can be readily
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                               PLAINTIFF’S SUPPLETMENTAL BRIEF
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       supplemented. Therefore, the above should not be the reasons for invalidating the

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       application.
              The Office clearly stated its position that the error or omissions of the information
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       about the author or derivative would be merely a matter of submitting a supplementation
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       form. It is well established that immaterial, inadvertent errors in an application for
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       copyright registration do not jeopardize the validity of the registration. See Masquerade
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       Novelty, Inc. v. Unique Indus., Inc., 912 F.2d 663, 667–68 & n. 5 (3d Cir.1990); Harris v.
 7
       Emus Records Corp., 734 F.2d 1329, 1335 (9th Cir.1984); 2 Nimmer § 7.20, at 7–201. In
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       general, an error is immaterial if its discovery is not likely to have led the Copyright
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       Office to refuse the application. See Eckes, 736 F.2d at 861–62.
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              Even if there were an issue of validity of the registration, especially based on the
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       mere technical reasons, as opposed to the real substantive reasons, it is not, and should
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       not, automatically be a reason to dismiss the entire action subjecting the copyright owners
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       to the infringer’s counterclaims and/or request for attorney fees, which is simply unjust
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       and unfair and which unjustly benefits the copyright infringers by allowing them to play
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       this technicality game when it is not really disputed the plaintiff is the owner and the
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       defendant sold the illegal copies. The copyright owners should be allowed to re-submit a
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       new application and amend the complaint.
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20     Dated: November 15, 2021
                                                  Respectfully submitted by,
21
22
                                                  __/s/ Chan Yong Jeong______
23                                                Chan Yong Jeong, Esq.
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                                                  Counsel for Neman Brothers & Associates

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                             PLAINTIFF’S SUPPLETMENTAL BRIEF
